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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

GUADALUPE PLACENCIA,
as Personal Representative to the Estate of
ADRIAN PLACENCIA,

              Plaintiff,

v.                                                       No. CV 21-187 MV/CG

HIDALGO COUNTY BOARD
OF COMMISSIONERS, et al.,

              Defendants.

               ORDER EXTENDING MOTION TO COMPEL DEADLINE

       THIS MATTER is before the Court on Plaintiff’s Unopposed Motion to Extend

Plaintiff’s Deadline to File Motion to Compel (the “Motion”), (Doc. 66), filed November

30, 2021. The Court, having reviewed the Motion and noting it is unopposed, finds the

Motion is well-taken and shall be GRANTED.

       IT IS THEREFORE ORDERED that Plaintiff shall have until January 21, 2022, to

file a motion to compel discovery responses by Defendant Vital Health Strategies, LLC

to Plaintiff’s First Set of Interrogatories and Requests for Production.

       IT IS SO ORDERED.



                                   THE HONORABLE CARMEN E. GARZA
                                   CHIEF UNITED STATES MAGISTRATE JUDGE
